

People v Roth (2024 NY Slip Op 06477)





People v Roth


2024 NY Slip Op 06477


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, MONTOUR, GREENWOOD, AND KEANE, JJ.


851 KA 23-01446

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vWILLIAM ROTH, DEFENDANT-APPELLANT. 






BANASIAK LAW OFFICE, PLLC, SYRACUSE (PIOTR BANASIAK OF COUNSEL), FOR DEFENDANT-APPELLANT. 
BRITTANY GROME ANTONACCI, DISTRICT ATTORNEY, AUBURN (CHRISTOPHER T. VALDINA OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Cayuga County Court (Thomas G. Leone, J.), rendered August 10, 2023. The judgment convicted defendant, upon a guilty plea, of course of sexual conduct against a child in the first degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: December 20, 2024
Ann Dillon Flynn
Clerk of the Court








